                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MISSOURI
                                     WESTERN DIVISION

                                      JUDGMENT IN A CIVIL CASE

DAVID SIMS,                                                   )
                                                              )
                          Plaintiff(s),                       )
                                                              )
        vs.                                                   ) Case No. 22-00717-CV-W-HFS
                                                              )
CITY OF KANSAS CITY, MISSOURI,                                )
                                                              )
                          Defendant(s).                       )
                                                              )


        Jury Verdict.     This action came before the Court for a trial by jury. The issues have been tried and the
        jury has rendered its verdict.

X       Decision by Court. This action came before the Court. The issues have been determined and a decision
        has been rendered.


        IT IS HEREBY ORDERED that

        Defendant’s motion to quash plaintiff’s complaint is GRANTED. It is further


        ORDERED that

        Plaintiff’s motion to move case forward is DENIED AS MOOT.




 March 24, 2023                                Paige Wymore-Wynn
Date                                        Clerk


Entered on    March 24, 2023                  /s/ Christy Anderson
                                            (By) Deputy Clerk




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